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_____________________________________________________________________________

James Walsh,                                :
                      Plaintiff.            :
                                            :       CIVIL ACTION - LAW
               v.                           :
                                            :       No. 4:24-cv-01878
Luzerne County, Luzerne County Board        :
of Elections, and Luzerne County Board      :       Chief Judge Matthew W. Brann
of Elections and Registration,              :
                      Defendants.           :


         SUPPLEMENTAL BRIEF IN OPPOSITION OF DEFENDANTS
   LUZERNE COUNTY AND THE LUZERNE COUNTY BUREAU OF ELECTIONS
        TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Defendants, Luzerne County and the Luzerne County Bureau of Elections 1 (the “Bureau”)

(together, “Responding Defendants”), by and through their counsel, hereby submit this


       1
               In the case caption, Plaintiff incorrectly identified the Luzerne County Bureau of
Elections as the Luzerne County Board of Elections. Defendant Luzerne County Board of
Elections and Registration is separately represented.
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Supplemental Brief in Opposition to Plaintiff’s Motion for Special and Preliminary Injunction and

respectfully request this Honorable Court deny Plaintiff’s requested relief for the reasons set forth

below. Additionally, Responding Defendants hereby incorporate their Brief in Opposition of

Defendants Luzerne County and the Luzerne County Bureau of Elections to Plaintiff’s Motion for

Preliminary Injunction as if fully set forth herein.

   I.       INTRODUCTION

         The Luzerne County Court of Common Pleas commenced a preliminary injunction hearing

on October 30, 2024. At the hearing, Plaintiff’s counsel arrived with an assortment of putative

witnesses from whom he intended to elicit testimony. Responding Defendants’ counsel, also in

attendance at the hearing, learned additional and heretofore unknown information regarding

Plaintiff and other facts bearing upon this matter. Accordingly, Responding Defendants offer the

instant Supplemental Brief in Opposition to Plaintiff’s Motion for Preliminary Injunction to

apprise the Court of these developments and to offer additional legal argument. In short, Plaintiff’s

Motion for Preliminary Injunction and Complaint are moot, Plaintiff lacks standing to bring this

case, and Plaintiff utterly has failed to establish the appropriateness of a preliminary injunction.

   II.      PROCEDURAL HISTORY

         Plaintiff filed his Complaint and Motion for Special and Preliminary Injunction on October

25, 2024. The Luzerne County Court of Common Pleas, by Order dated October 28, 2024,

scheduled a hearing on Plaintiff’s Motion for October 30, 2024, at 11:00 a.m. Responding

Defendants timely filed this Brief in Opposition to Plaintiff’s Motion with Exhibits on October 29,

2024. The Luzerne County Court of Common Pleas commenced the preliminary injunction

hearing on October 30, 2024, at which hearing Responding Defendants’ counsel apprised the Court

that Responding Defendants intended to remove the instant matter to federal court.




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Contemporaneously, Responding Defendants filed a Notice of Removal in the United States

District Court for the Middle District of Pennsylvania and a Notice of Filing of Notice of Removal

with the Luzerne County Court of Common Pleas. Accordingly, the preliminary injunction

hearing ended without resolution or Order, and this matter now proceeds in the instant Court.

   III.      FACTUAL HISTORY

          Responding Defendants learned at the preliminary injunction hearing that Plaintiff

intended to offer various witnesses, other than the sole Plaintiff, whose testimony does not reflect

reality. Plaintiff’s witnesses were expected to testify, in essence, that the witnesses completed and

delivered voter applications and/or mail-in ballots which Responding Defendants had not

processed in accordance with Pennsylvania law. As made plain in Responding Defendants’

Affidavit of Emily Cook, “[a]s of October 25, 2024, all voter registrations filed before the October

21, 2024, deadline have been timely processed, and those registrants added to the voter rolls.” Aff.

of Emily Cook, at ¶ 8. Moreover, “[a]s of October 27, 2024, [her] office completed processing all

requests for mail-in ballots submitted prior to that date, and mail-in ballots for those individuals

requesting the same have been placed in the mail[,]” and requests for mail-in ballots “will continue

to be timely processed and mail-in ballots placed in the mail for all those individuals who request

one prior to the deadline.” Id., at ¶ 10-11.

          Emily Cook prepared a Supplemental Affidavit in which, in relevant part, Ms. Cook states

that Plaintiff James Walsh “is a registered voter in Luzerne County” and that he “handed in his

mail-in ballot, which has been accepted and will be processed.” Suppl. Aff. of Emily Cook, at ¶¶

7-8. See Exhibit “A.”

   IV.       LEGAL STANDARD

             A. Preliminary Injunction Standard




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         Federal Rule of Civil Procedure 65 controls preliminary injunctions. This Court recently

observed the “United States Court of Appeals for the Third Circuit has established that

preliminary injunctive relief is an ‘extraordinary remedy’ that ‘should be granted only in limited

circumstance.’” Brooks v. State Coll. Area Sch. Dist., 643 F. Supp. 3d 499, 504 (M.D. Pa. 2022)

(collecting cases); see also Benisek v. Lamone, 138 S. Ct. 1942, 1943 (2018) (“A preliminary

injunction is “an extraordinary remedy never awarded as of right.”) (quoting Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 24 (2008)); Boynes v. Limetree Bay Ventures LLC, 110 F.4th 604,

609 (3d Cir. 2024) (noting the plaintiff “bear[s] the burden of making ‘a clear showing’”)

(quoting Mazurek v. Armstrong, 520 U.S. 968, 972 (1997). Indeed, the Third Circuit long has

acknowledged that “[i]t has been well stated that upon an application for a preliminary injunction

to doubt is to deny.” Madison Square Garden Corp. v. Braddock, 90 F.2d 924, 927 (3d Cir.

1937).

         This Court recently considered four factors in determining whether a motion for

preliminary injunction should be granted and noted that a “preliminary injunction is ‘an

extraordinary remedy that should be granted only if:”

                 (1) the plaintiff is likely to succeed on the merits;
                 (2) denial will result in irreparable harm to the plaintiff;
                 (3) granting the injunction will not result in irreparable harm to the
                     defendants; and
                 (4) granting the injunction is in the public interest.

Jones v. Bradley, 2023 WL 2088430, at *4 (M.D. Pa. Feb. 17, 2023) (quoting NutraSweet Co. v.

Vit-Mar Enterprises, Inc., 176 F.3d 151, 153 (3d Cir. 1999)); accord Brooks, 643 F. Supp. 3d at

504 (quoting Crissman v. Dover Down Ent. Inc., 239 F.3d 357, 364 (3d Cir. 2001)).

         Critically, as here, “[a] plaintiff’s failure to establish any element in its favor renders a

preliminary injunction inappropriate.” NutraSweet Co., 176 F.3d at 153 (citing Opticians Ass’n




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of Am. v. Indep. Opticians of Am., 920 F.2d 187, 192 (3d Cir. 1990)). Moreover, the third and

fourth factors only are considered if the plaintiff satisfies the first two gateway factors; that is, if

the plaintiff “‘meets the threshold for the first two most critical factors: [he] must demonstrate

that [he] can win on the merits (which requires a showing significantly better than negligible)’

and that ‘[he] is more likely than not to suffer irreparable harm in the absence of preliminary

relief.’” Brooks, 643 F. Supp. 3d at 504 (quoting Reilly v. City of Harrisburg, 858 F.3d 173, 179

(3d Cir. 2017)).

            B. Standing and Mootness Standards

        As for standing, the Supreme Court makes plain that

        It is by now well settled that “the irreducible constitutional minimum of standing
        contains three elements. First, the plaintiff must have suffered an ‘injury in fact’—
        an invasion of a legally protected interest that is (a) concrete and particularized, and
        (b) actual or imminent, not conjectural or hypothetical. Second, there must be a
        causal connection between the injury and the conduct complained of.... Third, it
        must be likely, as opposed to merely speculative, that the injury will be redressed
        by a favorable decision.”

U.S. v. Hays, 515 U.S. 737, 742-43 (1995) (collecting cases and quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560-61 (1992)). Plaintiff bears the burden of establishing each

element. McNair v. Synapse Grp., Inc., 672 F.3d 213, 223 (3d Cir. 2012); see also N.J.

Physicians, Inc. v. President of U.S., 653 F.3d 234, 241 (3d Cir. 2011) (affirming dismissal

for lack of standing because the plaintiffs failed to meet “their burden in pleading facts that

establish the requisite injury in fact and therefore failed to demonstrate standing”).

        Turning to mootness, a “case becomes moot—and therefore no longer a ‘Case’ or

‘Controversy’ for purposes of Article III—‘when the issues presented are no longer ‘live’

or the parties lack a legally cognizable interest in the outcome.’” Already, LLC v. Nike,

Inc., 568 U.S. 85, 91 (2013) (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982)). Stated




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differently, a case becomes moot where, as here, “developments occur during the course

of adjudication that eliminate a plaintiff’s personal stake in the outcome of a suit or prevent

a court from being able to grant the requested relief.” Hamilton v. Bromley, 862 F.3d 329,

335 (3d Cir. 2017) (quoting Blanciak v. Allegheny Ludlum Corp., 77 F.3d 690, 698-99 (3d

Cir. 1996)). At bottom, a federal court “may not ‘decide questions that cannot affect the

rights of litigants in the case before them’ or give ‘opinions advising what the law would

be upon a hypothetical set of facts.’” Id. (quoting Blanciak, 77 F.3d at 698-99).

    V.      ARGUMENT

            A. Plaintiff Has Failed to Carry His Heavy Burden to Establish That a
               Preliminary Injunction is Appropriate

         Plaintiff has not—because he cannot—satisfy the requisite four factors for a preliminary

injunction to issue; indeed, Plaintiff is incapable of passing even the “most critical” “gateway”

factors. See Reilly, 858 F.3d at 173. As explained below, Plaintiff has failed to establish every

one of the four preliminary injunction prerequisites. Therefore, no preliminary injunction should

issue.

                i.      Plaintiff Has Failed to Establish That He is Likely to Prevail on the
                        Merits.

         “The first factor requires the [plaintiff] to ‘demonstrate that he can win on the merits (which

requires a showing significantly better than negligible but not necessarily more likely than not).’”

Cramer v. Prince, 2024 WL 4109335, at *4 (M.D. Pa. Sep. 6, 2024) (quoting Holland v. Rosen,

895 F.3d 272, 286 (3d Cir. 2018)).

         As noted in prior briefing, all the substantive allegations made in Plaintiff’s Complaint and

Motion are based on speculation and conjecture. Moreover, Moving Defendants attach hereto as

Exhibit “A” an undeniable Supplemental Affidavit of the Bureau’s Director of Elections plainly




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providing that James Walsh—the sole Plaintiff 2—has not suffered the injuries he claims exist. In

sum, Plaintiff is registered to vote and already has voted in Luzerne County. See Exhibit “A.”

Accordingly, Plaintiff lacks standing (Plaintiff has not and will not suffer a concrete injury in fact),

the speculative issues he raises are moot and without substance (Plaintiff has not suffered the

spurious harm he alleges), and Plaintiff has failed to establish the likelihood that Plaintiff is likely

to succeed on the merits.

                ii.     Plaintiff Has Failed to Establish That the Denial of His Injunction Will
                        Result in Immediate and Irreparable Harm.

        “Injunctive relief will not be granted merely to allay the fears and apprehensions or to

soothe the anxieties of the parties.” Miller v. Little, 2022 WL 2070282, at *1 (M.D. Pa. June 8,

2022) (quoting Zokaites v. Land-Cellular Corp., 424 F. Supp. 2d 824, 832 (W.D. Pa. 2006)).

“Establishing a risk of irreparable harm is not enough.” Id. (quoting ECRI v. McGraw-Hill, Inc.,

809 F.2d 223, 226 (3d Cir. 1987)). Critically, owing to Plaintiff’s speculative and moot claims,

Plaintiff has failed to “demonstrate the requisite immediacy[,]” much less demonstrate irreparable

harm. Id. at *2 (collecting cases). The Third Circuit has “also insisted that the risk of irreparable

harm must not be speculative.” Adams v. Freedom Forge Corp., 204 F.3d 475, 488 (3d Cir. 2000)

(collecting cases).

        In short, “the dramatic and drastic power of injunctive force may be unleashed only against

conditions generating a presently existing actual threat.” Doe #1 v. Del. Valley Sch. Dist., 572 F.




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                Plaintiff is not a class representative, nor does he name additional Plaintiffs in this
matter, and it is of no moment that Plaintiff presents himself as running for elected office. As
such, Plaintiff’s allegations must be focused relative to him alone. Furthermore, Plaintiff’s
attempted resurrection of past instances of purported issues lacks traceability to support his
putative future harm. See Murthy v. Missouri, 144 S. Ct. 1972, 1992 (U.S. 2024) (finding no
standing and noting, for establishing standing, that “the past is relevant only insofar as it predicts
the future”).


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Supp. 3d 38, 81 (M.D. Pa. Nov. 11, 2021) (quoting Adams v. Freedom Forge Corp., 204 F.3d 475,

487 (3d Cir. 2000) (emphasis original)); see also AutoBar Sys. of N.J. v. Berg Co., LLC, 2024 WL

3859807 (3d Cir. Aug. 17, 2024) (remanding and requiring “concrete evidence that, absent a

preliminary injunction,” immediate and irreparable harm will occur).

       As addressed in prior briefing, here, Plaintiff, through his “upon information and belief”

averments, has offered only speculation and conjecture—which happens demonstrably to be

false—concerning Responding Defendants’ alleged violation of election laws.                Moreover,

Plaintiff’s specific claims as to himself are moot insofar as he is a registered voter and already has

voted in Luzerne County. Accordingly, Plaintiff has failed to establish that the denial of his

preliminary injunction will result in immediate and irreparable harm to him.

               iii.    Plaintiff Has Failed to Establish That Granting the Injunction Will Not
                       Result in Irreparable Harm to the Responding Defendants.

       As explained above, Plaintiff has not established that he, or any other Luzerne County voter

or prospective voter, faces immediate or irreparable harm.

       Here, the granting of a preliminary injunction would result in significant harm to

Responding Defendants. If an injunction were to issue, it would validate Plaintiff’s false and

reckless narrative of election malfeasance by County and Bureau personnel. It is critical that in

the upcoming election, the citizens of Luzerne County have the utmost confidence that their elected

and appointed officials timely are processing their applications for ballots, and ultimately, their

votes. Plaintiff has presented no substantive evidence to demonstrate that Responding Defendants’

and their respective staffs are doing anything but. Moreover, Responding Defendants have

provided two separate Affidavits not simply rebutting Plaintiff’s claims, but revealing the reality

that Plaintiff’s claimed harms do not exist. Accordingly, Plaintiff has failed to establish that

granting the injunction will not result in irreparable harm to the Responding Defendants.



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                 iv.     Plaintiff has Failed to Establish that Granting the Injunction is in the
                         Public Interest.

          “As a practical matter, if a plaintiff demonstrates both likelihood of success on the merits

and irreparably injury, it almost always will be the case that the public interest will favor the

plaintiff.” SEC v. Chappell, 107 F.4th 114, 139 (3d Cir. 2024) (quoting Am. Tel. & Tel. Co. v.

Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d Cir. 1994)). Here, Plaintiff has

demonstrated neither. Furthermore, offering Plaintiff this Court’s imprimatur relative to his

spurious and demonstrably false allegations directly would undermine the public interest by

sowing confusing, undermining the public’s trust in bedrock institutions, and flying high the flag

of an oft-repeated and oft-debunked false narrative of serious election issues which simply do not

exist. Accordingly, Plaintiff has failed to establish that granting the injunction is in the public

interest; rather, granting the injunction is contrary to the public interest.

    VI.       CONCLUSION

          Moving Defendants, Luzerne County and the Luzerne County Bureau of Elections

respectfully request that this Honorable Court deny Plaintiff’s’ Motion for Special and Preliminary

Injunction.

                                                        Respectfully Submitted,


Date: October 31, 2024                                  By: /s/ Mark E. Cedrone
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                                      Attorneys for Defendants Luzerne
                                      County and the Luzerne County Bureau
                                      of Elections




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Brief in

Opposition to Defendants Luzerne County and the Luzerne County Bureau of Elections to

Plaintiff’s Motion for Preliminary Injunction was served this 31st day of October, via email and

facsimile upon the following:



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and via email upon the following:


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                             Board of Elections and Registration



                                                     /s/ Mark E. Cedrone
                                                     MARK E. CEDRONE




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CERTIFICATION OF COMPLIANCE WITH THE CASE RECORDS PUBLIC ACCESS
     POLICY OF THE UNIFIED JUDICIAL SYSTEM OF PENNSYLVANIA

       I certify that this filing complies with the provisions of the Case Records Public Access

Policy of the Unified Judicial System of Pennsylvania, which require filing confidential

information and documents differently than non-confidential information and documents.




Dated: October 31, 2024                            /s/ Mark E. Cedrone
                                                   MARK E. CEDRONE




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